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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Eastern
 ____________________             Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Nuvectra Corporation
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            QiG Group, LLC; Algostim or AlgoStim; Pelvistim; ControlStim; and
                                           ______________________________________________________________________________________________________
     in the last 8 years                    NeuroNexus Technologies or Neuro Nexus Technologies
                                           ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer                        XX-XXXXXXX
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            5830      Granite Parkway, Suite 1100
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Plano                      TX       5024
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Collin
                                           ______________________________________________
                                           County                                                        10675      Naples St. NE
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                         Blaine                  MN          55449
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.nuvectramed.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 Nuvectra Corporation
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3391
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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Debtor         Nuvectra Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor          Nuvectra Corporation
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                         11 /12 / 2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                           _____________________________________________               Fred B. Parks
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Executive Officer
                                            Title _________________________________________




18.   Signature of attorney
                                           _____________________________________________              Date          11 /12/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM     / DD / YYYY



                                             Ryan E. Manns
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Norton Rose Fulbright US LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            2200        Ross Avenue, Suite 3600
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             Dallas
                                            ____________________________________________________            TX
                                                                                                           ____________  75201-7932
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             214-855-8304
                                            ____________________________________                    ryan.manns@nortonrosefulbright.com
                                                                                                         __________________________________________
                                            Contact phone                                                  Email address



                                             24041391
                                            ______________________________________________________  Texas
                                                                                                   ____________
                                            Bar number                                             State




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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       001-37525


              2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
        June 30, 2019

              a. Total assets                                                              $

              b. Total debts (including debts listed in 2.c., below)                       $
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $   www.nuvectramed.com                          unknown

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                              Blaine       MN



              Comments, if any:



              3. Brief description of debtor=s business:          Medical device company




            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
                                                                   N/A




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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

    In Re:                                        § Chapter 11
                                                  §
    NUVECTRA CORPORATION, 1                       § Case No. 19-_____
                                                  §
                            Debtor.               §



                             CORPORATE OWNERSHIP STATEMENT

             Nuvectra Corporation (the “Debtor”) hereby submits, pursuant to Rules 1007(a)(1) and

7007.1 of the Federal Rules of Bankruptcy Procedure, that no corporations directly or indirectly

own 10% or more of the Debtor.




1The last four digits of the Debtor’s federal tax identification number are: 3847. The location of the Debtor’s
principal place of business and the service address for the Debtor is: 5830 Granite Parkway, Suite 1100,
Plano, TX 75024.


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                         RESOLUTIONS OF THE BOARD OF DIRECTORS
                                NUVECTRA CORPORATION

                                             November 11, 2019

         WHEREAS, the Board of Directors (the “Board”) of Nuvectra Corporation, a Delaware
corporation (the “Company”), has (i) pursued, considered and evaluated the sale of the Company as a
whole, the sale of the Algovita division of the Company on a standalone basis and the sale of the Virtis
division of the Company on a standalone basis, (ii) pursued, considered and evaluated capital raising
through the Company’s issuance of equity in the open market and private transactions, (iii) pursued
alternative financing in order to refinance the Company’s existing credit facility and provide additional
financing to the Company; (iv) pursued, considered and evaluated amendments to the terms and conditions
of the Company’s existing credit facility, and (v) pursued, considered and evaluated other strategic
alternatives for the Company (each of the foregoing and any combination of the foregoing, a “Transaction);

        WHEREAS, in its pursuit of a Transaction the Board has considered and evaluated materials and
presentations by the Company’s management and its financial, restructuring and legal advisors, including,
but not limited to, materials regarding each Transaction, the current and forecasted revenues of the
Company, the liabilities of the Company, and the liquidity and on-going cash requirements of the Company;

        WHEREAS, the Board has consulted with the Company’s management and advisors in order to
fully consider each Transaction that may be available to the Company and the effect of each such
Transaction on the Company’s business, financial condition, prospects and parties in interest;

         WHEREAS, the Board, after careful consideration of all the facts and circumstances relating to
the possibility of implementing any Transaction that may be available to the Company and the liabilities,
liquidity and on-going cash requirements of the Company, has determined that it is advisable and in the
best interest of the Company, its creditors, stakeholders and its other parties in interest that the Company
file a voluntary petition for relief (the “Chapter 11 Case”) under chapter 11 of title 11 of the United States
Bankruptcy Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District
of Texas or another court of proper jurisdiction;

                                              Chapter 11 Case

        NOW THEREFORE BE IT RESOLVED, that in the judgment of the Board, it is advisable and
in the best interest of the Company, its creditors, stakeholders and its other parties in interest that the
Company file the Chapter 11 Case to seek relief under the Bankruptcy Code;

        RESOLVED FURTHER, that the Company is hereby authorized, empowered and directed to file,
or cause to be filed, the Chapter 11 Case under the provisions of the Bankruptcy Code in the United States
Bankruptcy Court for the Eastern District of Texas or another court of proper jurisdiction;

         RESOLVED FURTHER, that the Chief Executive Officer, Chief Financial Officer and any other
appointed officer of the Company (each, an “Authorized Officer”), acting alone or with one or more other
Authorized Officers, with power of delegation, be, and each of them individually hereby is, authorized,
empowered and directed to execute and file on behalf of the Company all petitions, schedules, lists, motions,
applications, objections, papers and documents as necessary, appropriate or desirable to commence the
Chapter 11 Case and obtain relief for the Company under the Bankruptcy Code, and to take any and all
action that they, acting alone or with one or more other Authorized Officers, deem necessary, appropriate
or desirable to obtain such relief, including without limitation, any action necessary, appropriate or desirable
in order to operate the Company as a debtor in possession under the provisions of the Bankruptcy Code;


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        RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more other
Authorized Officers, with power of delegation, be, and hereby are authorized, empowered and directed to
engage (i) the law firm Norton Rose Fulbright US, LLP as bankruptcy counsel to the Company, (ii) the law
firm Dorsey & Whitney LLP as general counsel to the Company, (iii) Alvarez & Marsal North America,
LLC as restructuring advisor to the Company, (iv) Kurtzman Carlson Consultants, LLC as notice, claims
and balloting agent to the Company, (v) a financial advisor and investment banker to advise the Company
in connection with a Transaction in the Chapter 11 Case, and (v) any other legal counsel, accountants,
valuation experts, advisors, consultants or other professionals that the Authorized Officers deem necessary,
appropriate or desirable to represent and assist the Company in carrying out its duties and obligations under
the Bankruptcy Code and applicable law and to represent and assist the Company in taking all actions to
advance its rights and perform its obligations in the Chapter 11 Case, and in connection therewith, the
Authorized Officers, with power of delegation, are hereby authorized, empowered and directed to execute
engagement agreements, retention agreements, pay retainers and cause to be filed any appropriate
applications, documents or papers to retain such professional and advisory services;

         RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more other
Authorized Officers, with power of delegation, be, and hereby are, authorized, empowered and directed to
carry out the Company’s duties and obligations under the Bankruptcy Code and applicable law, and to take
all actions to advance the Company’s rights and perform its obligations in the Chapter 11 Case, including,
without limitation, filing petitions, motions, applications, schedules, lists, objections, replies, pleadings,
papers and documents, with the assistance of legal counsel, accountants, restructuring advisors, financial
advisors, investment bankers, valuation experts and other professionals as such Authorized Officers deem
necessary, appropriate or desirable, and to take and perform any and all further acts and deeds that the
Authorized Officers, acting alone or with one or more other Authorized Officers, with power of delegation,
in their discretion deem necessary, appropriate or desirable in connection with the Chapter 11 Case, with a
view to the successful prosecution of the Chapter 11 Case;

                                            Cash Collateral Agreement

        RESOLVED FURTHER, that it is advisable and in the best interest of the Company, its creditors,
stakeholders and its other parties in interest that the Company seek to enter into a consensual cash collateral
agreement with its lenders prior to the filing of the Chapter 11 Case;

         RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more other
Authorized Officers, with power of delegation, be, and hereby are, authorized, empowered and directed to
seek, negotiate and agree to a consensual cash collateral agreement with the Company’s lenders prior to the
filing of the Chapter 11 Case; provided, however, such consensual use of cash collateral agreement is not a
condition to, and is not a requirement of, the filing of the Chapter 11 Case;

        RESOLVED FURTHER, that if such consensual agreement to the use of cash collateral is not
agreed to by the Company’s lenders prior to 10:00 a.m. Central Time, on November 12, 2019, the Company
will proceed with the filing of the Chapter 11 Case;

        RESOLVED FURTHER, that in the event such consensual cash collateral agreement is not
entered into prior to the filing of the Chapter 11 Case, the Authorized Officers, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and hereby are, authorized, empowered and
directed to, in the name of and on behalf of the Company, to continue to seek, negotiate, execute and deliver
a cash collateral agreement or stipulation on the terms and conditions such Authorized Officers consider
necessary, proper or desirable, and to consummate the transactions contemplated by such agreement or
instruments on behalf of the Company;



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                                                  General

         RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more other
Authorized Officers, with power of delegation, be, and hereby are, authorized, empowered and directed to
cause the Company to enter into, execute, deliver, certify, file and record, and perform, such agreements,
instruments, notices, affidavits, applications for approvals or rulings of governmental or regulatory
authorities or other parties, and to take such other actions, as in the discretion of such Authorized Officer
is or become necessary, proper and desirable to effectuate the operation of the Company’s business as a
debtor in possession under the Bankruptcy Code;

        RESOLVED FURTHER, that in addition to the specific authorizations heretofore conferred upon
the Authorized Officers, each of the Authorized Officers (and his or her designees and delegates) be, and
hereby is, authorized, empowered and directed, in the name of and on behalf of the Company, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver, and file
any and all such agreements, certificates, instruments, and other documents and to pay all expenses,
including but not limited to filing fees, as in such Authorized Officer’s discretion, is necessary, advisable
or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions adopted
herein;

         RESOLVED FURTHER, that all actions, agreements, transactions and certifications relating to
the matters contemplated by the foregoing resolutions done in the name and on behalf of the Company,
which actions, agreements, transactions or certifications would have been approved by the foregoing
resolutions except that such actions, agreements, transactions or certifications were taken before adoption
of these resolutions, are hereby in all respects approved, ratified and confirmed as the acts and deeds of the
Company, with the same force and effect as if such actions, agreements, transactions or certifications had
been specifically authorized in advance by these resolutions.




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                            Voluntary Petition
                                           Document
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                                                         Page 13 copy
                                                                   of 14 Page 13 of 14

      Fill in this information to identify the case:

                     Nuvectra Corporation
      Debtor name __________________________________________________________________

                                                 Eastern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
                                                                                                                                                            $2,753,576
1       Minnetronix



        Greatbatch                                                                                                                                          $2,169,103
2




                                                                                                                                                              $150,187
3        Bright Research


                                                                                                                                                                $55,101
4        Resolution Medical


                                                                                                                                                               $53,413
5        Libra Medical


                                                                                                                                                                $42,892
6       Regulatory & Clinical


                                                                                                                                                               $35,605
7        Advances Medical
         Solutions, LLC

                                                                                                                                                                $33,220
8       Textronix LLC




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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                   Case19-43090
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    Debtor        _______________________________________________________                      Case number (if known)_____________________________________
                  Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

                                                                                                                                                             $32,000
9       Susan Mechache


                                                                                                                                                            $29,455
10      Merrill Communications,
        LLC

                                                                                                                                                            $27,698
11     Haynes and Boone LLP


                                                                                                                                                            $32,200
12       Odyssey Information
         Systems

                                                                                                                                                            $23,720
13      Medical Equipment
        Compliance

                                                                                                                                                            $19,236
14      Modern Orthopaedics LLC


                                                                                                                                                            $18,975
15       Source Surgery Center
         LLC

         Ringcentral Inc.                                                                                                                                   $16,987
16



                                                                                                                                                            $16,299
17       FedEx


                                                                                                                                                            $14,185
18       Regulatory and Quality


                                                                                                                                                            $14,125
19       Joshua Elliott



20                                                                                                                                                           $14,000
             The Ruth Group




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
